Case 2:20-cv-07240-DMG-MRW Document 16 Filed 09/25/20 Page 1 of 1 Page ID #:114



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                            UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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  11   ESFANDIAR SHARYARIKESHEH,                    Case No.: CV 20-7240-DMG (MRWx)
  12                      Plaintiff,                ORDER TO DISMISS ENTIRE
  13         vs.                                    ACTION WITH PREJUDICE [13]
  14   JAMES RIVER INSURANCE
       COMPANY and DOES 1 to 50,
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                          Defendants.
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  18         Having considered the parties’ stipulation, AND GOOD CAUSE
  19   APPEARING THEREFOR,
  20         IT IS HEREBY ORDERED that the above-captioned action, including all
  21   claims and causes of action described in the pleadings herein, is hereby dismissed
  22   with prejudice pursuant to Fed. R. Civ. P. 41. Each party shall bear its own
  23   attorney’s fees and costs. All scheduled dates and deadlines are VACATED.
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  25   DATED: September 25, 2020             _________________________________
                                             DOLLY M. GEE
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                                             UNITED STATES DISTRICT JUDGE
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